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                          United States District Court
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 GARY RAY RIKE                                §

 v.                                           4       CIVIL ACTION NO. 3:22-CV-1530-S-BK

 PHH MORTGAGE        SERVICES and U.S.        :
 BANK NA                                      §
      ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case. No objections were filed. The Court reviewed the proposed Findings, Conclusions, and

Recommendation for plain error. Finding none, the Court ACCEPTS the Findings, Conclusions,

and Recommendation of the United States Magistrate Judge.

        SO ORDERED.

        SIGNED August 12, 2024.



                                                      Nee —
                                                   UNITED STATES DISTRICT JUDGE
